Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 1 of 31 Page ID #:7




                      Exhibit A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 2 of 31 Page ID #:8




                                                           EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 3 of 31 Page ID #:9




                                                                   EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 4 of 31 Page ID #:10




                                                                    EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 5 of 31 Page ID #:11




                                                                     EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 6 of 31 Page ID #:12




                                                                      EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 7 of 31 Page ID #:13




                                                                   EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 8 of 31 Page ID #:14




                                                                       EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 9 of 31 Page ID #:15




                                                                     EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 10 of 31 Page ID #:16




                                                                     EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 11 of 31 Page ID #:17




                                                                   EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 12 of 31 Page ID #:18




                                                                   EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 13 of 31 Page ID #:19




                                                                    EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 14 of 31 Page ID #:20




                                                                      EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 15 of 31 Page ID #:21




                                                                      EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 16 of 31 Page ID #:22




                                                                      EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 17 of 31 Page ID #:23




                                                                       EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 18 of 31 Page ID #:24




                                                                       EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 19 of 31 Page ID #:25




                                                                      EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 20 of 31 Page ID #:26




                                                                    EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 21 of 31 Page ID #:27




                                                                       EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 22 of 31 Page ID #:28




                                                                    EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 23 of 31 Page ID #:29




                                                                     EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 24 of 31 Page ID #:30




                                                                  EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 25 of 31 Page ID #:31




                                                                       EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 26 of 31 Page ID #:32




                                                                  EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 27 of 31 Page ID #:33




                                                                 EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 28 of 31 Page ID #:34




                                                                    EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 29 of 31 Page ID #:35




                                                                  EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 30 of 31 Page ID #:36




                                                                    EXHIBIT A
Case 2:18-cv-00367-RGK-AS Document 1-1 Filed 01/16/18 Page 31 of 31 Page ID #:37




                                                                EXHIBIT A
